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                       EXHIBIT “T”
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   From: Brian Shevland <shevland@yahoo.com>
   Date: August 8, 2021 at 8:48:09 PM EDT
   To: Patrick Orlando <porlando@beneinvest.com>
   Subject: Re: Shevland investment

   Ready to wire an investment tomorrow, let me know when you want to catch up.

   Sent from my iPhone



          On Aug 7, 2021, at 3:04 PM, Patrick Orlando <porlando@beneinvest.com> wrote:


          Cool. Will look when get a chance. In transit.

          Patrick F. Orlando
          Founder and CEO
          BENEINVEST.COM         VIEW BIO     SPACs




          Notice - The information contained in this email is confidential and is for use only by the intended
          recipient. If you are not the intended recipient, you must not disclose or use the information in this
          email in any way. If you received it in error, please advise us immediately by return email and
          delete the document.

          From: Brian C. Shevland <shevland@yahoo.com>
          Sent: Saturday, August 7, 2021 2:43:32 PM
          To: Patrick Orlando <porlando@beneinvest.com>
          Subject: Re: Shevland investment

          Patrick,
          Simple Excel sheet attached. I just organized it with cell descriptions to
          make it easier to follow along. The only number that should be edited is
          the Red number which is my personal investment amount.

          Thanks,
                                                             1
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         Brian

         On Friday, August 6, 2021, 02:25:26 PM GMT-4, Patrick Orlando
         <porlando@beneinvest.com> wrote:


         Yes please.

         P

         Patrick F. Orlando
         Founder and CEO
         BENEINVEST.COM         VIEW BIO     SPACs




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         recipient. If you are not the intended recipient, you must not disclose or use the information in this
         email in any way. If you received it in error, please advise us immediately by return email and
         delete the document.

         From: Brian Shevland <Shevland@yahoo.com>
         Sent: Friday, August 6, 2021 2:24:41 PM
         To: Patrick Orlando <porlando@beneinvest.com>
         Subject: Re: Shevland investment

         Yes, I have a simple excel model. If you would like me to provide it and save you the time
         just let me know.

         Sent from my iPhone


                  On Aug 5, 2021, at 4:23 PM, Patrick Orlando
                  <porlando@beneinvest.com> wrote:


                  Taking a look in just a bit. I have to model it up unless you have it handy-
                  P


                  Get Outlook for iOS

                  From: Brian Shevland <Shevland@yahoo.com>
                  Sent: Thursday, August 5, 2021 1:00:16 PM
                  To: Patrick Orlando <porlando@beneinvest.com>
                  Subject: Shevland investment

                  Patrick,
                  It sounds like we are rapidly approaching the IPO so it is
                  time for me to close out my pre IPO work and make my
                                                            2
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              personal investment in sponsor shares. I am happy to
              discuss with you what amount you would like me to invest.
              Based on the calculation to arrive at a $3 share price for the
              capital stack that I introduced, the calculation at various
              investment levels would be as follows:
              $50,000 - 260,022 shares
              $100,000 - 276,689 shares
              $250,000 - 326,689 shares
              $500,000 - 410,022 shares
              Per our agreement, I am prepared to invest up to an equal
              amount as you and at the same terms. Without waiving that
              option, I am also willing to invest in this one instance
              pursuant to the chart above.
              Once we get through the IPO, I plan to continue to add a
              tremendous amount of value and utilize my team to identify
              the ideal merger candidate and work towards a successful
              merger. My goal is to demonstrate such a significant amount
              of value that we can follow our agreement which gives us the
              right but not the obligation to invest up to equal amounts and
              equal terms into all SPAC projects after BENE. Let's keep
              discussing ways that we can both work together so that our
              relationship is mutually beneficial and that these projects
              are extremely successful for our investors.
              Sincerely,
              Brian




                                             3
